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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA,
                         SOUTHERN DIVISION

RODNEY ERRTHUM,                        )
                                       )
      Plaintiff                        )
v.                                     )   CASE NO.___________________
                                       )
METROPOLITAN LIFE                      )
INSURANCE COMPANY,                     )
                                       )
      Defendant.                       )


                                     COMPLAINT

      Comes now the Plaintiff, Rodney Errthum, and hereby files his Complaint

against MetLife.

                                      PARTIES

      1.     The Plaintiff, Rodney Errthum (“Mr. Errthum”), is an insured under

Group Long Term Disability Plan for employees of Pattison Sand Company, LLC,

identified as Group Insurance Policy KM 05738034 (“the Plan”), who has been

improperly denied disability benefits under the Plan.

      2.     Defendant, Metropolitan Life Insurance Company (“MetLife”), is the

Administrator of the Plan. Upon information and belief, MetLife is a foreign

corporation which conducts business generally in the state of Alabama and

specifically within this District.


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                         JURISDICTION AND VENUE

      3.     This action arises under the Employee Retirement Income Security Act

of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq. Plaintiff asserts claims for long term

disability (“LTD”) benefits, enforcement of ERISA rights and statutory violations

of ERISA under 29 U.S.C. § 1132, specifically, Mr. Errthum brings this action to

recover benefits due to him pursuant to 29 U.S.C. §1132(a)(1)(B) and to enforce his

rights under the Plan pursuant to 29 U.S.C. §1132(a)(3).      This Court has subject

matter jurisdiction under ERISA without respect to the amount in controversy or the

citizenship of the parties. 29 U.S.C. §§ 1132(a), (e)(1) and (f) and 28 U.S.C. § 1131.

Venue is proper in this district pursuant to 29 U.S.C. § 1132(e)(2) and 28 U.S.C. §

1391(b).

                                INTRODUCTION

      4.     The Plaintiff in this case was subjected to improper claim handling

procedures by MetLife as it exploited the shortcomings of ERISA as it relates to

claims for “welfare” benefits to avoid paying Mr. Errthum’s valid claim for

disability benefits. The traditionally held purpose of the ERISA statute is “to

promote the interest of employees and their beneficiaries in employee benefit plans.”

Shaw v. Delta Airlines, Inc., 463 U.S. 85, 90 (1983). Mr. Errthum, as an employee

insured for disability, was supposed to be treated as a beneficiary by MetLife as a

statutory fiduciary. Instead, MetLife has breached those duties and victimized Mr.

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Errthum by engaging in improper claim handling procedures. As described in more

detail below, MetLife has clearly engaged in bad faith claim handling and Mr.

Errthum, at minimum, is entitled to de novo review and all relief that ERISA

provides.

                            STATEMENT OF FACTS

      5.     Mr. Errthum is an insured for benefits under the Plan. MetLife is the

administrator of the Plan. The Plan provides insureds, like Mr. Errthum, LTD

benefits and was in full force and effect at all times relevant to this Complaint.

      6.     At all relevant times, Mr. Errthum was employed by Pattison Sand

Company, LLC and was a covered participant in the Plan, as defined in 29 U.S.C. §

1002(7) and under the terms and conditions of the Plan.

      7.     Mr. Errthum, a man of fifty-one years of age, worked at Pattison Sand

Company, LLC for several years, working his way up through the company, until

his disabilities forced him to stop working on or about December 2, 2016.

      8.     Mr. Errthum was employed by Pattison Sand Company, LLC as a Plant

Manager, whose job duties required managing daily operations in the plant facility;

ensuring safety and efficiency; testing and monitoring plant processes; remaining in

compliance with company operating procedures, policies, and HSE guidelines,

ensuring all are in compliance with MSHA and OSHA compliance; preparing,

analyzing, and issuing production and performance reports; maintaining all


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administrative records; controlling costs to achieve company budget goals; working

directly with supervisors to ensure they attain their goals; coaching and developing

supervisors and operators; monitoring samples and date to prevent problems and

make necessary changes or corrections in a timely manner; and performing frequent

audits on safety, SOP’s, trainings, production and quality. Plant Managers were

required to be flexible and willing to work in extreme conditions. Mr. Errthum’s

position as a Plant Manager is classified as Heavy work.

      9.       Mr. Errthum’s medical disabilities include Lyme disease, chronic

fatigue,    mycotoxin-induced    illness, common     variant immune deficiency,

fibromyalgia, headache, myalgia, dizziness with poor balance, generalized anxiety

disorder, and depressive disorder not otherwise specified with chronic pain features.

The symptoms of his impairments and the side effects of the medications and

treatment prescribed render Mr. Errthum unable to perform any job.

      10.      By letter dated March 22, 2017, MetLife wrongfully denied Mr.

Errthum’s LTD benefits.

      11.      The Plan at issue, as governed by ERISA and relied upon to deny Mr.

Errthum’s LTD benefits states, in part:

      Disabled or Disability means that, due to Sickness or as a direct result of

      accidental injury:




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      • You are receiving Appropriate Care and Treatment and complying with

            the requirements of such treatment; and

      • You are unable to earn:

               • during the Elimination Period and the next 36 months of Sickness

                  or accidental injury, more than 80% of Your Predisability Earnings

                  at Your Own Occupation in Your Local Economy; and

               • after such period, more than 60% of your Predisability Earnings

                  from any employer in Your Local Economy at any gainful

                  occupation for which You are reasonably qualified taking into

                  account Your training, education, and experience.

      12.      The Plan at issue, as governed by ERISA and relied upon to deny Mr.

Errthum’s LTD benefits, further provides for a work incentive, stating:

      While You are Disabled, We encourage You to work. If You work while You

      are Disabled and receiving Monthly Benefits, Your Monthly Benefits will be

      adjusted as follows:

      • Your Monthly Benefit will be increased by Your Rehabilitation Program,

            if any; and

      • reduced by Other Income as defined in the DISABILITY INCOME

            INSURANCE: INCOME WHICH WILL REDUCE YOUR DISABILITY

            BENEFIT section.

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      13.   MetLife’s denial of LTD benefits issued on March 22, 2017 was based

at least in part upon the review of MetLife’s own Medical Director, Dr. Puja

Korabathina (“Dr. Korabathina”).

      14.   Prior to the denial of Mr. Errthum’s benefits, Mr. Errthum was under

the consistent care of his integrative medicine specialist, Dr. Karen Vrchota (“Dr.

Vrchota”) and his allergy-immunology specialist, Dr. John C. Moore (“Dr. Moore”),

and during the relevant period he also regularly treated with his chiropractor, Dr.

Shannon White (“Dr. White”); his psychologist, Dr. Thomas Ottavi (“Dr. Ottavi”);

his psychiatrist, Susan Amundsen, PA-C (“Ms. Amundsen”); his neurologist, Dr.

Preeti Joseph (“Dr. Joseph”); and his current primary care physician, Dr. Robert S.

Waters (“Dr. Waters”).

      15.   On December 8, 2016, Dr. Vrchota wrote that Mr. Errthum’s frequent

pain and fatigue would require him to leave work on short notice that he would be

unable to attend work for several days if his symptoms increased in severity and

duration, and that these restrictions were expected to be in effect between November

9, 2016 and April 9, 2017.

      16.   On January 5, 2017, Dr. Vrchota completed an Attending Physician

Statement wherein she noted diagnoses of common variable immunoglobulin

deficiency, mononeuritis multiplex, and possible Lyme disease and mycotoxin-

induced illness causing symptoms of fatigue, dizziness, weakness, joint pain, knee


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swelling, decreased range of motion, and lymphadenopathy. Dr. Vrchota further

asserted that Mr. Errthum was capable only of intermittent sitting throughout an

eight-hour workday, standing and walking one hour or less throughout an entire day,

and never climbing, balancing, bending, twisting, stooping, or driving, restrictions

incompatible with the Heavy physical exertional requirements of Mr. Errthum’s own

occupation..

      17.      Dr. Vrchota filled out a questionnaire regarding Mr. Errthum’s medical

condition on January 5, 2017, noting a marked increase in dizziness, poor balance,

inability to track information, and poor ability to hear, remember, or follow through

on actions limiting his ability to walk, hear, listen, speak, communicate, or drive.

Accordingly, Dr. Vrchota opined that Mr. Errthum was completely unable to work

and would remain unable to work into the foreseeable future.

      18.      Dr. Korabathina evaluated Mr. Errthum’s medical file on March 9,

2017 and determined that restrictions and limitations due to chronic fatigue

syndrome and chronic pain were reasonable only between December 2, 2016 and

March 3, 2017 but that ongoing restrictions and limitations were not supported by

medical documentation past March 3, 2017.

      19.      MetLife failed to consider the opinions of Mr. Errthum’s treating

physicians in its decision to deny benefits; on March 10, 2017, MetLife requested

an updated opinion from Dr. Vrchota in response to Dr. Korabathina’s review, and


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on March 14, 2017 Dr. Vrchota responded that Mr. Errthum would need to be seen

in-office in order to provide such an update.

      20.      Instead of waiting until after Mr. Errthum’s next scheduled

appointment with Dr. Vrchota on March 27, 2017, MetLife instead issued its denial

of LTD benefits on March 22, 2017.

      21.      MetLife relied on the opinion of its own Medical Director over the

opinion of Mr. Errthum’s treating providers in coming to its decision to deny LTD

benefits.

      22.      At all relevant times of MetLife’s review of Mr. Errthum’s claim,

MetLife had the contractual right to obtain better evidence of Mr. Errthum’s

disability by ordering an independent medical examination.

      23.      Rather than ordering Mr. Errthum to sit for an independent medical

examination, MetLife relied on a record review from a partisan source to support its

denial of LTD benefits.

      24.      On March 27, 2017, Dr. Vrchota provided a statement noting that “from

the time period of 12/03/2016 through 03/27/2017, Rodney Errthum has been unable

to work due to fatigue, muscle weakness, joint pain and dizziness. These symptoms

have greatly impaired his ability to walk, climb, lift, drive, listen, speak and

understand.”




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      25.    Dr. Vrchota suggested a gradual attempt to return to work, initially only

twelve hours per week.

      26.    The Director of Human Resources for Pattison Sand Company,

Courtney Severson, recounted Mr. Errthum’s unsuccessful work attempt in a

statement dated August 17, 2017, wherein she noted that since Mr. Errthum’s return

to work in April 2017 “his ability to work has not been consistent” and that “his poor

health condition just does not allow for [work] most days.” Included in this statement

was a list of the weekly hours worked by Mr. Errthum between April 10, 2017 and

August 13, 2017 which showed marked inconsistency and an overall reduction in

hours worked.

      27.    Although Mr. Errthum attempted to comply with Dr. Vrchota’s plan to

resume work, the documented work hours provided from his employer shows a clear

inability to meet this goal to return to full duty work.

      28.    By and through counsel in a letter dated September 15, 2017, Mr.

Errthum appealed the denial of his LTD benefits. Mr. Errthum included with his

appeal letter additional medical records outlining the decline of his condition, as well

as several declarations from family, friends, and coworkers.

      29.    Office notes from Dr. Vrchota spanning March 27, 2017 to June 7, 2017

were provided to MetLife and demonstrated a regular pattern of increased activity

during attempts to work immediately followed by a corresponding increase in


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symptoms and decrease in function in the subsequent days due to Mr. Errthum’s

diffuse chronic pain, chronic fatigue, dizziness, and headaches secondary to

mycotoxin-induced illness and most likely Lyme disease.

      30.    Josh Corlett, Mr. Errthum’s coworker for nine years, provided a

statement as part of Mr. Errthum’s appeal and reported that the claimant’s medical

condition “has gotten to a point that since October of last year I have worked with

him maybe 14 days and when I say days I should really say hours as he is only able

to handle about 6 hours and is so run down that he needs to go home.”

      31.    Mr. Errthum’s wife, Karen Errthum, likewise provided a statement in

support of her husband’s appeal and noted regular symptoms of headaches, vertigo,

fatigue, and severe joint pain resulting in “weeks when he is unable to work much

less leave the house.”

      32.    In a letter dated September 5, 2017, Kyle Pattison, owner and manager

of Pattison Sand Company, LLC, opined that throughout Mr. Errthum’s employment

beginning in August 2008 he had been “top performing and one of my go to people

at the River Plant.” Mr. Pattison recounted that Mr. Errthum’s health “has

deteriorated quite rapidly” over the prior year, preventing him from working on a

consistent basis.

      33.    Dr. Korabathina reevaluated Mr. Errthum’s claim and in an Addendum

to Claim dated September 20, 2017 noted a documented attempt to return to work


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over the prior several months with only two weeks of full duty work achieved. In

spite of the demonstrably unsuccessful nature of Mr. Errthum’s work attempt, Dr.

Korabathina determined following a review of the updated file that Mr. Errthum was

capable of a graduated return to work from March 27, 2017 to July 10, 2017, after

which unimpeded ability for full duty work was projected.

      34.    In a letter dated October 31, 2017, MetLife informed Mr. Errthum of

an approval of LTD benefits spanning only between December 3, 2016 and July 10,

2017, noting that the medical records did not support a severity of symptoms which

would preclude Mr. Errthum from performing the duties of his own occupation on a

full-time basis.

      35.    In coming to this decision, MetLife again relied upon the opinion of its

own Medical Director and disregarded the fact, well-documented within the

provided records, that Mr. Errthum’s attempts to work were sporadic, his absences

were frequent, and he had not regained the ability to perform the full duties of his

previous occupation as a Plant Manager.

      36.    By and through counsel in a letter dated June 6, 2018, Mr. Errthum

appealed the termination of his LTD benefits. Included in this appeal were records

from Dr. White and from Medical Associates Clinic documenting Mr. Errthum’s

persistent symptoms and impairments.




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      37.    Records from Medical Associates Clinic included neurology notes

between November 2017 and February 2018 for dizziness, fatigue, brain fog,

dizziness, off-balance, cognitive dysfunction, sleep issues, and shaking of the right

upper extremity, during which he was found to have active diagnoses of arthralgia,

fatigue, fibromyalgia, generalized anxiety disorder, headache, insomnia, and long-

term use of high-risk medication.

      38.    Included in these records from Medical Associates Clinic was

neurocognitive testing, prompted by Mr. Errthum’s history of Lyme disease with

cognitive effects unresponsive to treatment, performed on December 8, 2017 and

demonstrating deficit scores in areas of semantic fluency, working memory,

attention, and immediate and delayed memory as compared to his premorbid

functioning. Follow up neurocognitive testing on January 12, 2018 subsequently

showed Mr. Errthum to struggle with performance in memory and to have relative

slowing of processing for information.

      39.    In comparing Mr. Errthum’s two neurocognitive testing results, Dr.

Ottavi noted the likelihood of frequent daily effects from physical fatigue resulting

in mental focus and effort interference, and Dr. Ottavi further noted on January 29,

2018 that “if there is not a return of the mental sharpness on its own or in

combination with sufficient mental endurance (and physical/energy to back it up)




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then it is not a match to go back to what was a fairly demanding job description when

at full functioning.”

      40.    In a statement dated May 29, 2018, Dr. White noted observations of

severe fatigue, joint pain, anxiety, and sleep deprivation making it difficult to

function and impossible to work, spanning back to the first appointment with Mr.

Errthum the previous August. Dr. White clarified that “Rod’s symptoms have made

it difficult for him to work because of the inability to concentrate due to fatigue,

brain fog, and anxiety. His joint pains have also limited his ability to work. Based

upon my personal evaluations and experience with Rod, he would not be capable of

engaging in full time employment of any sort.”

      41.    Dr. White also reviewed Dr. Korabathina’s March 9, 2017 medical

review and asserted in her May 29, 2018 statement that the minor limitations

assigned by Dr. Korabathina were accurate only during those brief times when Mr.

Errthum was able to function and that ongoing restrictions and limitations were

warranted as “Rod remains just as limited at present.”

      42.    Despite providing proof of his disability both before the termination of

benefits and throughout the appeals process, MetLife refused to award Mr.

Errthum’s LTD benefits and issued its final denial by letter dated August 28, 2018.

      43.    In its final termination letter dated August 28, 2018, MetLife relied

upon the opinions of paid medical reviewers Dr. Jeremy Hertza (“Dr. Hertza”) and


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Dr. Marvin Pietruszka (“Dr. Pietruszka”).

      44.    Dr. Hertza, who has never seen nor treated Mr. Errthum, acknowledged

in his June 26, 2018 report the claimant’s extensive treatment with his psychiatrist,

psychologist, and neurologist, noted diagnoses of generalized anxiety disorder and

unspecified depression, and referenced his neurocognitive tests, yet nevertheless

determined that neither cognitive limitations nor psychiatric impairment were

supported.

      45.    Dr. Hertza did not attempt to contact Mr. Errthum’s current treating

physicians, instead attempting to call his allergy and immunology specialist, Dr.

Moore, who last treated the claimant in February 2017; his integrative health

specialist, Dr. Vrchota, who last saw Mr. Errthum in June 2017; and his

rheumatologist, Dr. Mark W. Niemer (“Dr. Niemer”), who saw Mr. Errthum only

once in October 2017. Even these attempts were cursory, as Dr. Hertza called the

offices of Dr. Moore and Dr. Vrchota only once and, when instructed on a specific

time and date to best reach Dr. Niemer, disregarded this information and placed his

second call to this office a full business day before the advised timeframe.

      46.    Although Dr. Hertza professed to review Mr. Errthum’s recent

neurocognitive testing and Dr. Ottavi’s corresponding statements, he nevertheless

declared that Mr. Errthum’s medical file “contained no evidence of global and

continuous cognitive or psychiatric impairment.”


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      47.    By asserting that Mr. Errthum had no “global and continuous” cognitive

and psychiatric impairments, Dr. Hertza applied an improper test of disability

unreflective of the Policy. Per the Policy, Mr. Errthum was required to be unable to

earn, due to sickness or accidental illness, more than 80% of his Predisability

Earnings at his Own Occupation, and thus Dr. Hertza’s assertion of a “global” ability

for general occupational functioning disregarded, specifically, the heavy nature,

necessary cognitive skills, and the need for flexibility and exposure to extreme

conditions inherent in Mr. Errthum’s position as Plant Manager.

      48.    Despite commenting on Mr. Errthum’s capacity for work from a

neuropsychological perspective, Dr. Hertza did not even attempt to contact the

claimant’s psychologist, Dr. Ottavi, or psychologist, Ms. Amundsen.

      49.    Dr. Hertza noted diagnoses of generalized anxiety disorder and

unspecified depression, but neither noted nor considered Mr. Errthum’s diagnosis of

Lyme disease and the effect this condition had on his cognitive capacity.

      50.    Dr. Pietruszka, who has never seen nor treated Mr. Errthum, rendered

an opinion that Mr. Errthum was not functionally limited or restricted as of July 11,

2017 onward, despite referencing records from Dr. White noting low back pain,

decreased spinal range of motion, severe spasms of the cervical and lumbar spine,

joint pain, and fatigue, as well as Dr. White’s letter asserting ongoing limitations and

an inability to return to work.


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      51.   Dr. Pietruszka cited a lack of medical documentation to justify his

assertion that Mr. Errthum experienced no functional deficits, blatantly overlooking

treatment from Dr. White demonstrating decreased spinal range of motion and

noting fatigue and joint pain and from Dr. Vrchota showing unbalanced gait with

positive Romberg testing.

      52.   Dr. Pietruszka, too, failed to contact Mr. Errthum’s treating physicians

for their medical opinion, attempting phone calls with Dr. Vrchota and Dr. Moore,

who had last treated the claimant more than a year prior, and leaving only two

messages for Dr. White.

      53.   Although he had only seen Mr. Errthum for a single appointment in

October of 2017, Dr. Niemer was asked his opinion of the reviews carried out by Dr.

Hertza and Dr. Pietruszka, and on July 6, 2018 Dr. Niemer responded with no

comment upon the reports save an agreement.

      54.   In an addendum to his report dated August 2, 2018, Dr. Pietruszka noted

both Dr. Niemer’s agreement and treatment records from Mr. Errthum’s current

treating physician, Dr. Waters demonstrating lumbar trigger points detected during

an initial evaluation. Despite access to more up-to-date information, Dr. Pietruszka

seemed to give more weight to Dr. Niemer’s stance and asserted that his medical

opinion remained unchanged.

      55.   Dr. Pietruszka also opined that “the claimant’s statement that he is


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unable to do any work is inconsistent with the fact that he is working at least part

time,” overlooking the fact that not only did the Plan provide for a work incentive,

encouraging its insureds to work while disabled, but that Mr. Errthum’s work

attempts were largely unsuccessful, consisting of significantly decreased hours and

limited work tasks incompatible with the full duties and normal performance of his

own occupation.

      56.     MetLife’s paid reviewers appeared to conduct their reviews with an

underlying bias, as both Dr. Hertza and Dr. Pietruszka utilized language not present

in the Policy as standards for denial; Dr. Hertza advanced a standard of global

symptoms and generalized occupational functioning incompatible with the Policy’s

Own Occupation requirements, while Dr. Pietruszka overlooked the Work Incentive

clause of the Policy to deem Mr. Errthum’s limited and intermittent attempts to work

“inconsistent” with his claim of an inability to perform the duties of his own

occupation.

      57.     In an Attending Physician Statement dated January 10, 2019, Dr. White

noted that Mr. Errthum suffered from Lyme disease and chronic fatigue and was

subsequently unable to stand, walk, or sit for more than one hour intermittently or,

due to heightened anxiety during periods of illness, to engage in stress situations or

interpersonal relations. Dr. White noted that he had not advised Mr. Errthum to

return to work.


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      58.    The contention advanced by MetLife and its paid medical reviewers

that Mr. Errthum was not disabled directly contradicts the opinion of his treating

physician, Dr. White.

      59.    As of this date, Mr. Errthum has been denied benefits rightfully owed

to him under the Plan.

      60.    Mr. Errthum has met and continues to meet the Plan’s definition of

disabled.

      61.    Mr. Errthum has exhausted any applicable administrative review

procedures and his claim is ripe for judicial review pursuant to 29 U.S.C. § 1132.

      62.    MetLife’s refusal to pay benefits has caused tremendous financial

hardship on Mr. Errthum.

                             STANDARD OF REVIEW

      63.    A denial of benefits challenged under 29 U.S.C. § 1132(a)(1)(B) is to

be reviewed under a de novo standard unless the benefit Plan gives the administrator

or fiduciary discretionary authority to determine eligibility for benefits or to construe

the terms of the Plan.

      64.    When discretionary authority is clearly granted and the insurer of an

ERISA plan also acts as a claims administrator, there is a structural or inherent

conflict of interest that mandates a heightened arbitrary and capricious standard of

review.


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      65.    Upon information and belief, the Plan does not grant discretionary

authority to determine eligibility for benefits to MetLife or to any other entity who

may have adjudicated Mr. Errthum’s claim. Therefore, the Court should review Mr.

Errthum’s claim for benefits under a de novo standard.

      66.    Upon information and belief, MetLife evaluated and paid all claims

under the LTD Plan at issue, creating an inherent conflict of interest.

      67.    MetLife has failed to comply with the letter of the claims procedures

outlined in ERISA and therefore Mr. Errthum’s claim for benefits should be

reviewed by this Court under a de novo standard.

      68.    In the alternative, if the Court finds that MetLife is entitled to the

heightened arbitrary and capricious standard of review, the termination of Plaintiff’s

benefits constitutes a clear abuse of discretion as MetLife’s decision to deny Mr.

Errthum’s LTD benefits was arbitrary and capricious.

    DEFENDANT’S WRONGFUL AND UNREASONABLE CONDUCT

      69.    MetLife has wrongfully denied LTD benefits to Mr. Errthum, in

violation of the policy provisions and ERISA, for the following reasons:

             (a) Mr. Errthum is totally disabled, in that he is unable to perform the

                duties of his Own Occupation due to sickness and is receiving

                appropriate care and treatment and complying with the requirements

                of such treatment;


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    (b) Mr. Errthum is entitled to disability benefits under the terms of the

       Plan, as he meets the Plan’s definition of disability and he has

       otherwise met the conditions precedent of the Plan for coverage and

       entitlement to benefits;

    (c) MetLife failed to accord proper weight to the evidence in the

       administrative record showing that Mr. Errthum is totally disabled;

    (d) MetLife’s interpretation of the definition of disability contained in

       the Plan is contrary to plain language of the Plan, unreasonable,

       arbitrary, capricious, and otherwise violated the standards required

       by ERISA;

    (e) MetLife failed to acknowledge or abide by the Plan’s Work

       Incentive, instead penalizing Mr. Errthum’s unsuccessful work

       attempts and portraying limited and intermittent work as unimpeded

       functional capacity;

    (f) MetLife failed to obtain and consider relevant information

       pertaining to Mr. Errthum’s disability before it made a

       determination on his claim for LTD benefits;

    (g) MetLife wrongfully denied Mr. Errthum a full, fair, and impartial

       review of his benefits claim pursuant to 29 C.F.R § 2560.503-

       1(h)(1), by ignoring the overwhelming weight and credibility of


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       evidence submitted and instead behaved as an adversary, looking

       instead for less credible evidence of marginal significance to support

       its goal of denying his benefits claim;

    (h) MetLife failed to give proper weight to Mr. Errthum’s own accounts

       regarding the debilitating effects of his pain;

    (i) MetLife ignored the records and opinions of Mr. Errthum’s treating

       physicians which show that Mr. Errthum is totally disabled, and

       instead based its decision to deny benefits on its internal review by

       MetLife staff members and its paid reviewers, who had never seen

       or treated Mr. Errthum, some of which never spoke with his treating

       physicians about the nature of his disability, and who were not as

       qualified as Mr. Errthum’s treating physicians to formulate opinions

       regarding the nature and extent of his disability;

    (j) MetLife failed to exercise reasonable flexibility in its claims review

       process to assure Mr. Errthum a full, fair review, well-reasoned, and

       principled of his claim;

    (k) MetLife administered Mr. Errthum’s claim for LTD benefits while

       acting under an inherent and substantial conflict of interest in that

       MetLife served both as fiduciary of and funding source for the Plan,

       and placed its own pecuniary interests above Mr. Errthum’s interests


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       in wrongfully terminating his LTD benefits and failing to administer

       the Plan as an impartial decision maker, free of such conflict of

       interest, would;

    (l) MetLife made erroneous interpretations of some evidence in

       violation of its obligation to discharge its duties with care, prudence,

       skill, and diligence;

    (m)   MetLife acted in bad faith by denying Mr. Errthum’s claim based

       upon the inability of MetLife’s paid reviewers to find Mr. Errthum

       disabled, and otherwise failed to administer the Plan honestly, fairly

       and in good faith, and to at all times act in Mr. Errthum’s best

       interests;

    (n) MetLife terminated Mr. Errthum’s benefits without the support of

       any new information that altered in some significant way the

       previous decision to pay LTD benefits to Mr. Errthum between

       March 3, 2017 and July 10, 2017;

    (o) MetLife terminated Mr. Errthum’s benefits without the support of

       any new information that showed improvement in Mr. Errthum’s

       medical condition, when in fact, his treating physicians opined that

       his condition continued to deteriorate;




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    (p) MetLife failed to support the termination of benefits with substantial

       evidence;

    (q) MetLife imposed a standard not required by the Plan’s provisions,

       by requiring objective evidence of Mr. Errthum’s subjective medical

       conditions where such evidence cannot be reasonably provided;

    (r) MetLife denied Mr. Errthum’s claim for a lack of objective medical

       evidence when Mr. Errthum has provided ample subjective evidence

       of a disability and MetLife has neither identified any objective

       evidence that Mr. Errthum could have supplied to support the claim

       and has not had Mr. Errthum undergo an independent medical

       examination or a similar in-person probative procedure to test the

       validity of his complaints;

    (s) MetLife failed to consider Mr. Errthum’s non-exertional limitations

       caused by his disability, such as the side effects of his prescribed

       medication, his ability to regularly attend work, and the effect his

       disability has on his concentration, persistence, and pace when

       performing the material duties of his occupation;

    (t) MetLife’s termination of Mr. Errthum’s LTD benefits failed to

       provide a detailed explanation and the basis of its disagreement with

       the opinions of Mr. Errthum’s treating physicians;


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             (u) MetLife wrongfully denied Mr. Errthum’s LTD benefits in such

                other ways to be shown through discovery and/or hearing.

      70.    As a result of the foregoing, the relief to which Mr. Errthum is entitled

includes: (1) monthly LTD income benefits to Mr. Errthum, (2) payment of back

benefits from July 11, 2017, to the date of judgment, (3) pre-judgment interest, (4)

equitable relief, including declaratory and injunctive relief, to redress MetLife’s

practices that are violative of the Plan and ERISA, and to enforce the terms of the

Plan and ERISA, and (6) an award of attorney’s fees and costs pursuant to 29 U.S.C.

§ 1132(g).

                               CAUSES OF ACTION

                                COUNT ONE
                  ERISA (Claim for Benefits Owed under Plan)

      71.    Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      72.    At all times relevant to this action, Mr. Errthum was a participant of the

Plan underwritten by MetLife and issued to Pattison Sand Company, LLC and was

eligible to receive disability benefits under the Plan.

      73.    As more fully described above, the termination and refusal to pay Mr.

Errthum’s benefits under the Plan for the period from at least on or about July 11,

2017 through the present constitutes a breach of Defendant’s obligations under the

Plan and ERISA. The decision to deny benefits to Mr. Errthum constitutes an abuse
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of discretion as the decision was not reasonable and was not based on substantial

evidence.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays the Court for the following:

      1.    A judgment ordering the applicable standard of review in this case is

de novo;

      2.    A judgment ordering that by a preponderance of the evidence, the

Defendant has breached its fiduciary duty to the Plaintiff by wrongfully denying his

LTD benefits owed to him through the Plan;

      3.    In the alternative, if the Court determines that the applicable standard

of review is the heightened arbitrary and capricious standard, the Court may take

and review the records of Defendant and any other evidence that it deems necessary

to conduct an adequate arbitrary and capricious review and enter a judgment that

Defendant’s decision to wrongfully deny Plaintiff’s LTD benefits was unreasonable,

arbitrary and capricious, and unsupported by substantial evidence;

      4.    Declaratory and injunctive relief, finding that Defendant violated the

terms of the Plan and Plaintiff’s rights thereunder by terminating Mr. Errthum’s LTD

benefits; that Mr. Errthum is entitled to a continuation of future LTD benefits from

Defendant pursuant to the Plan;




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      5.     Declaratory and injunctive relief, finding that Defendant breached its

fiduciary duties to Plaintiff; enjoining Defendant from further violations of its

fiduciary duties; and directing Defendant to take all actions necessary to administer

the Plan in accordance with the terms and provisions thereof and Defendant’s

fiduciary and other obligations arising under ERISA;

      6.     A judgment ordering Defendant to pay Mr. Errthum’s LTD benefits

from July 11, 2017 through the date judgment is entered herein, together with pre-

judgment interest on each and every such monthly payment through the date of

judgment;

      7.     An award of attorney’s fees and costs pursuant to 29 U.S.C. § 1132(g);

      8.     For such other and further relief as the Court deems just, fit and proper.

      Respectfully submitted this the 2nd day of March, 2020.



                                 __/s/ Peter H. Burke_________________________
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PLEASE SERVE DEFENDANT BY CERTIFIED MAIL AT:

Metropolitan Life Insurance Company
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104




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